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                       UNITED STATES DISTRICT COURT
                                              for the
                                   Eastern District of Kentucky
                                         London Division

Ronald Hall, Sr.                                       )
      Plaintiff                                        )
                                                       )
v.                                                     )      Case No. 6:17-cv-00149-KKC
                                                       )
Equifax Information Services, LLC et al.               )
      Defendants                                       )
                                                       )

                     NOTICE OF SETTLEMENT AS TO DEFENDANT
                          CAPITAL ONE BANK (USA), N.A.

       Please take notice that Plaintiff, Ronald Hall, Sr., has reached a settlement with

Defendant Capital One Bank (USA), N.A. Once the settlement is final, the parties will file a joint

dismissal with prejudice. This notice does not affect, and is not intended to affect, Plaintiff’s

claims against any other Defendant in this action.

                                       Respectfully submitted,

                                       /s/ James R. McKenzie
                                       James R. McKenzie
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                                      Counsel for Plaintiff
                                      Ronald Hall, Sr.


                                CERTIFICATE OF SERVICE

        This is to certify that I filed the foregoing via the Court’s CM/ECF system on this 1st day
of August, 2017, which will send a Notice of Electronic Filing to all counsel of record. I also
certify that I sent a true and accurate copy of the foregoing via regular U.S. Mail, postage
prepaid, this 1st day of August 2017 to the following:

       Credit One Bank, N.A.
       585 Pilot Road
       Las Vegas, NV 89119

       First Premier Bank
       601 South Minnesota Avenue
       Sioux Falls, SD 57104

                                      /s/ James R. McKenzie
                                      Counsel for Plaintiff
                                      Ronald Hall, Sr.




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